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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


NEVILLE MCFARLANE, DEANNA
COTTRELL, EDWARD HELLYER,
CARRIE MASON-DRAFFEN, HASEEB
RAJA, RONNIE GILL, JOHN
FRONTERA, SHARIQ MEHFOOZ, and
STEVEN PANICCIA, individually and on
behalf of all others similarly situated,
                                               Lead Case No: 20-CV-1297-JMF
                    Plaintiffs,                (consolidated with 20-CV-1410-JMF))

                    v.

ALTICE USA, INC., a New York
Corporation

                    Defendant.


                              NOTICE OF APPEAL
      Notice is hereby given that, under Section 16(a) of the Federal Arbitration

Act, 9 U.S.C. § 16(a), Defendant Altice USA, Inc. (“Altice”) appeals to the United

States Court of Appeals for the Second Circuit from the Court’s April 15, 2021 Order

(Dkt. No. 63) denying Altice’s Motion To Compel Individual Arbitration

Proceedings and Stay Litigation (Dkt. No. 47).

                                  [Signature Page to Follow]
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Dated: May 17, 2021               Respectfully submitted,

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                                  Counsel for Defendant Altice USA, Inc.




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                          CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing was electronically

filed on May 17, 2021, with the Clerk of the United States District Court for the

Southern District of New York, using its electronic case filing system, CM/ECF,

thereby serving all counsel of record in this case.


                                              /s/ Stephen M. Baldini
                                              Stephen M. Baldini
